         Case 4:19-cv-00688-JJV Document 16 Filed 06/09/20 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

SAMUEL LEE JOHNSON,                         *
                                            *
                     Plaintiff,             *
v.                                          *
                                            *            No. 4:19-cv-00688-JJV
ANDREW SAUL,                                *
Commissioner of Social Security,            *
                                            *
                     Defendant.             *


                                      JUDGMENT

       Consistent with the Order that was entered on this day, it is CONSIDERED, ORDERED,

and ADJUDGED that this case is DISMISSED with prejudice.

       DATED this 9th day of June 2020.




                                          __________________________________________
                                          JOE J. VOLPE
                                          UNITED STATES MAGISTRATE JUDGE
